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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :
        v.                                       :           Crim No. 1:22-cr-00354-RCL
                                                 :
RICHARD SLAUGHTER, and                           :
CADEN PAUL GOTTFRIED,                            :
                                                 :
             Defendants.                         :

                       MOTION IN LIMINE REGARDING
                AUTHENTICATION OF PHOTO AND VIDEO EVIDENCE

       The United States, by and through its attorney, the United States Attorney for the District

of Columbia, hereby moves in limine regarding the authentication of photo and video evidence

under Federal Rules of Evidence 104, 901, and 902. The government will attempt to reach

agreement with defense counsel regarding the admissibility of its evidence before trial, but if no

agreement regarding this evidence can be reached, the government seeks a pretrial ruling from the

Court finding that the categories of photo and video evidence detailed herein may be properly

authenticated and admitted using the methods outlined below, assuming sufficient foundation is

laid at trial regarding authenticity. Except for video evidence from the Senate Recording Studio,

which is self-authenticating under Federal Rule of Evidence 902, the government does not, in this

motion, seek a ruling that any particular exhibits are authentic or admissible.

       The riot at, and attack on, the United States Capitol building was an event of unparalleled

size and scope. Much of the event was recorded on video: on surveillance footage captured by the

U.S. Capitol Police (“USCP”) closed circuit cameras (“CCTV’); on Metropolitan Police

Department (“MPD”) body-worn cameras (BWC); and on phones and cameras carried by those

within the crowd that engulfed the Capitol. The government’s case will rely on such evidence to

establish the defendants’ specific conduct, to contextualize this conduct through other
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contemporaneous events, and to establish foundational elements of the offenses with which the

defendants are charged.1 This memorandum outlines the types of exhibits the government plans to

use and seeks a pretrial ruling on the methods of authentication outlined below.

    I.      AUTHENTICATION OF VIDEOS AND PHOTOGRAPHS IN GENERAL

         “As a general rule, tangible evidence such as photographs must be properly identified or

authenticated before being admitted into evidence at trial.” United States v. Blackwell, 694 F.2d

1325, 1329 (D.C. Cir. 1982) (citations omitted). Under Federal Rule of Evidence 901(a), “[t]o

satisfy the requirement of authenticating or identifying an item of evidence, the proponent must

produce evidence sufficient to support a finding that the item is what the proponent claims it is.”

Rule 901(b) provides a non-exhaustive list of examples of evidence that satisfies this requirement.

As relevant here, those examples include:

         (1) Testimony of a Witness with Knowledge. Testimony that an item is what it is
         claimed to be.
         ...
         (3) Comparison by an Expert Witness or the Trier of Fact. A comparison with an
         authenticated specimen by an expert witness or the trier of fact.

         (4) Distinctive Characteristics and the Like. The appearance, contents, substance,
         internal patterns, or other distinctive characteristics of the item, taken together with
         all the circumstances.
         ...
         (9) Evidence About a Process or System. Evidence describing a process or system
         and showing that it produces an accurate result.

Fed. R. Evid. 901(b)(1), (3), (4), and (9).

         As a general matter, establishing an item’s authenticity is not “a particularly high hurdle.”

United States v. Ortiz, 966 F.2d 707, 716 (1st Cir. 1992). See also United States v. Vidacak, 553




1
  For example, to meet its burden to prove the defendants violated 18 U.S.C. § 231(a)(3), the
government must introduce evidence of the civil disorder that existed on January 6, 2021, as well
as its affect on interstate commerce and/or federally protected functions.
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F.3d 344, 349 (4th Cir. 2009) (“The burden to authenticate under Rule 901 is not high”); Link v.

Mercedes-Benz of N. Am., Inc., 788 F.2d 918, 927 (3d Cir. 1986) (“The burden of proof for

authentication is slight.”); United States v. Hassanshahi, 195 F. Supp. 3d 35, 48 (D.D.C. 2016)

(“The threshold for the Court’s determination of authenticity is not high, . . . and the proponent’s

burden of proof for authentication is slight[.]”) (citation and quotation marks omitted). Rule 901

“requires only a prima facie showing of genuineness and leaves it to the jury to decide the true

authenticity and probative value of the evidence.” United States v. Harvey, 117 F.3d 1044, 1049

(7th Cir. 1997) (citing cases). See also, e.g., United States v. Belfast, 611 F.3d 783, 819 (11th Cir.

2010) (“[A]uthentication itself is ‘merely . . . the process of presenting sufficient evidence to make

out a prima facie case that the proffered evidence is what it purports to be.’”) (quoting United

States v. Caldwell, 776 F.2d 989, 1002 (11th Cir. 1985)); Vidacek, 553 F.3d at 349 (“only a prima

facie showing is required”). Stated differently, “[t]he standard the district court must apply in

evaluating a document’s authenticity is whether there is enough support in the record to warrant a

reasonable person in determining that the evidence is what it purports to be.” United States v.

Blanchard, 867 F.3d 1, 6 (1st Cir. 2017) (quoting United States v. Paulino, 13 F.3d 20, 23 (1st Cir.

1994)). Once that showing is made, “[t]he factual determination of whether evidence is that which

the proponent claims is ultimately reserved for the jury.” Vidacek, 553 F.3d at 349. See also, e.g.,

Belfast, 611 F.3d at 819 (“Once that prima facie case is established, the evidence is admitted, and

the ultimate question of authenticity is decided by the jury.”).

       To make out a prima facie showing of authenticity, “circumstantial evidence of authenticity

can be sufficient.” United States v. Bruner, 657 F.2d 1278, 1284 (D.C. Cir. 1981). See, e.g., United

States v. Broomfield, 591 F. App’x 847, 851 (11th Cir. 2014) (unpublished) (“Authentication may

be established ‘solely through the use of circumstantial evidence.’”) (quoting United States v.
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Smith, 918 F.2d 1501, 1510 (11th Cir. 1990)). The party seeking to admit evidence also need not

“rule out all possibilities inconsistent with authenticity, or to prove beyond any doubt that the

evidence is what it purports to be.” United States v. Holmquist, 36 F.3d 154, 168 (1st Cir. 1994).

Rather, “the government must only ‘demonstrate that, as a matter of reasonable probability,

possibilities of misidentification and adulteration have been eliminated.’” United States v. Celis,

608 F.3d 818, 842 (D.C. Cir. 2010) (quoting United States v. Stewart, 104 F.3d 1377, 1383 (D.C.

Cir. 1997)). See, e.g., United States v. Bowens, 938 F.3d 790, 794-95 (6th Cir. 2019) (explaining

that “[a]nyone could have used the defendants’ Facebook accounts, just as the pictures could have

depicted the men smoking tobacco cigars, and ‘getting high’ could have been a reference to

skydiving,” but that there was sufficient circumstantial evidence “for the jury to infer that the

accounts belonged to the defendants, and that the defendants were the authors of the posts about

using marijuana”); Broomfield, 591 F. App’x at 852 (finding sufficient evidence of authenticity

even though “there was no testimony establishing that the recording equipment was reliable or that

the video was not altered or staged”).

       In deciding preliminary questions about the admissibility of these videos, “[t]he court is

not bound by evidence rules, except those on privilege.” Fed. R. Evid. 104(a). In other words, the

government may rely upon otherwise inadmissible evidence in establishing the authenticity of the

video evidence described in this motion. See, e.g., United States v. White, 116 F.3d 903, 914 (D.C.

Cir. 1997). Of course, even with a pretrial ruling that evidence is authentic, and thus admissible,

the government must introduce sufficient evidence at trial from which a reasonable juror could

reach the same conclusion regarding authenticity. See, e.g., United States v. Gammal, 831 F. App’x

539, 542 n.6 (2d Cir. 2020) (unpublished) (“Insofar as the District Court relied on non-public

information to make its preliminary determination, it did not err because it did not do so in lieu of
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the presentation of sufficient authenticating public evidence later at trial.”); United States v.

Puttick, 288 F. App’x 242, 246 (6th Cir. 2008) (unpublished) (“It is permissible for the judge to

make a preliminary determination as to authentication, admit the evidence conditionally under

Rule 104(b), and then allow the jurors to be the final arbiters of whether it was actually

authenticated.”).

   II.      ANALYSIS

         The government’s evidence will show that all videos described herein fairly and accurately

depict events at the Capitol. Except for video evidence from the Senate Recording Studio, which

is self-authenticating under Federal Rule of Evidence 902, the government seeks a ruling only that

the following methods of authentication are permissible methods of authentication that the

government may rely upon at trial; the ultimate determination of authenticity of any particular

exhibit is a question for the jury after the admission of evidence at trial, as discussed below.

   A. U.S. Capitol Police Video Footage
         Admission of footage from USCP’s own systems is straightforward. If no stipulation with

the Defendant is reached, then the government will present a USCP witness to testify to their

surveillance system. This witness will be able to explain how the system is used, that it reliably

records and depicts the areas where USCP has installed cameras, and the internal characteristics

of videos—such as date and time stamps—which allow USCP to identify and retrieve segments

of video. Such evidence satisfies the requirement of Fed. R. Evid. 901(b)(4), which allows

authentication by way of “the appearance, contents, substance, internal patterns, or other

distinctive characteristics of the item, taken together with all the circumstances.” It also accords

with the requirements of Rule 901(b)(9), which allows authentication by “[e]vidence describing a

process or system and showing that it produces an accurate result.”
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         The government may additionally elect to call a USCP witness who was present during the

attack on the Capitol to explain that the videos used by the government here are consistent with

the events that occurred, generally, on January 6, 2021. If so, that would serve to authenticate the

footage based on the officer’s personal knowledge. Fed. R. 901(b)(1) (allowing authentication by

“[t]estimony that an item is what it is claimed to be”). This is standard authentication for any

photograph or video. See, e.g., United States v. Patterson, 277 F.3d 709, 713 (4th Cir. 2002) (“The

necessary foundation for the introduction of a photograph is most commonly established through

eyewitness testimony that the picture accurately depicts the scene in question[.]”); United States

v. Rembert, 863 F.2d 1029, 1026 (D.C. Cir. 1988) (noting one method of authentication occurs

where “a sponsoring witness (whether or not he is the photographer) who has personal knowledge

of the scene depicted testifies that the photograph fairly and accurately portrays that scene”).

   B. Body-Worn Camera Footage from the Metropolitan Police Department
         Many MPD officers at the Capitol on January 6, 2021 were equipped with body-worn

cameras; several of those cameras have captured footage of the defendants around the Capitol

building, including on the Lower West Terrace (LWT) of the Capitol in an area known as the

“tunnel.” The admissibility of footage from body-worn cameras, worn by MPD officers on January

6, 2021, is likewise clear. Either the officer who wore the camera, or any other witness to the

events depicted in the video, can authenticate the video based on their personal knowledge that the

video fairly and accurately depicts the events that occurred pursuant to Rule 901(b)(1) as detailed

above.

   C. “Open Source” Evidence from Third Parties
         The government also intends to introduce photos and videos taken by others present in and

around the Capitol that day. This includes video from journalists and rioters, including those

charged in separate criminal cases for their conduct at the Capitol on January 6, 2021.
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        The government anticipates authenticating these videos in multiple ways. First, any witness

with knowledge of the events depicted in a photograph or video can authenticate the evidence,

including, but not limited to, the person who took the photograph or video. See Fed. R. Evid.

901(b)(1). Here, that includes any person who was present for the events depicted in the

photograph or video and has a recollection sufficient for them to recognize the scene depicted and

testify that they appear to fairly and accurately show the events that took place. See, e.g., Am.

Wrecking Corp. v. Sec'y of Lab., 351 F.3d 1254, 1262 (D.C. Cir. 2003); see also United States v.

Rembert, 863 F.2d 1023, 1026 (D.C. Cir. 1988) (citing, e.g., Simms v. Dixon, 291 A.2d 184 (D.C.

1972); E. Cleary, McCormick on Evidence (3d ed. 1984) at 671).

        Even a person who was not present for a specific event can circumstantially establish the

authenticity of a photograph or video depicting that event. As explained, the bar for establishing

authenticity sufficient to admit evidence to the jury is very low: only a prima facie showing that

the evidence is what the government purports it to be—namely, photographs and videos of the

Capitol siege in progress. For that reason, even a witness who was not present during the events

depicted can help authenticate an exhibit if they can (1) identify the location(s) depicted in the

photograph or video; and (2) establish that the video is generally consistent with their knowledge

of events that occurred at that location during the Capitol riot. See, e.g., Rembert, 863 F. 2d at 1028

(“Even if direct testimony as to foundation matters is absent . . . the contents of a photograph itself,

together with such other circumstantial or indirect evidence as bears upon the issue, may serve to

explain and authenticate a photograph sufficiently to justify its admission into evidence.” (quoting

United Stearns, 550 F.2d at 1171)); Holmquist, 36 F.3d at 169 (“A photograph’s contents,

buttressed by indirect or circumstantial evidence, can form a sufficient basis for authentication

even without the testimony of the photographer or some other person who was present at the time
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it was taken.”); Cf. Safavian, 435 F. Supp. 2d at 36 (authenticating emails based on “distinctive

characteristics” and citing Fed. R. Evid. 901(b)(4)); Klayman v. Judicial Watch, 299 F. Supp. 3d

141 (D.D.C. 2018) (admitting emails and advertisements by comparing later versions with

admitted versions); United States v. Kandiel, 865 F.2d 967, 974 (8th Cir. 1989) (“The contents of

the tape recordings have numerous references to people, places and activities that were

corroborative of other testimony in the record. We believe the government has offered sufficient

circumstantial evidence to establish the prima facie authenticity and correctness of the tapes.”);

United States v. Rembert, 863 F.2d 1023, 1028 (D.C. Cir. 1988) (finding photographs from ATM

machine’s video system sufficiently authenticated by, among other things, “circumstantial

evidence provided by the victim witnesses as to the occurrences at the ATM machines” and “the

internal indicia of date, place, and event depicted in the evidence itself”); United States v. Stearns,

550 F.2d 1167, 1171 (9th Cir. 1977) (Kennedy, J.) (“Even if direct testimony as to foundation

matters is absent, however, the contents of a photograph itself, together with such other

circumstantial or indirect evidence as bears upon the issue, may serve to explain and authenticate

a photograph sufficiently to justify its admission into evidence.”).

       Second, authenticated video or photographs can in turn authenticate other, substantially

similar videos or photographs of the same scene. See Fed. R. Evid. 901(b)(3) (authentication by

comparison with another authenticated specimen); see. e.g., Valve Corp. v. Ironburg Inventions

Ltd., 8 F.4th at 1371; Stearns, 550 F.2d at 1171-72 (where circumstantial evidence established one

photograph’s authenticity, it “authenticates the other four pictures as to time”); Diaz v. County of

Ventura, 512 F. Supp. 3d 1030, 1035 (C.D. Cal. 2021) (“Here, the videos can be authenticated

through other evidence on the record—namely, other video and photographic evidence of the

incident that Green provides.”); United States v. Safavian, 435 F. Supp. 2d 36, 40 (D.D.C. 2006)
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(“e-mails that are not clearly identifiable on their own can be authenticated under Rule 901(b)(3),”

by the jury’s comparison with other “emails that already have been independently authenticated”).

        In another January 6 trial in this district, the court found similar video evidence to be

authentic by comparison under Rule 901(b)(3). United States v. Rodean, 1:21-cr-57-TNM, Dkt.

50 (D.D.C. Apr. 20, 2022). In Rodean, the court compared screenshots of video from a known

source (USCP security footage), which showed the Senate Wing Doors from the inside facing out,

with screenshots of video footage taken by an unspecified rioter showing the Senate Wing Doors

from the outside looking in. Id. at 2. The court noted similar objects depicted in both sets of

screenshots: doors of a building flanked by windows, a crowd of rioters near the windows, and a

wooden beam sticking through a shattered window. Id. The court found these similarities sufficient

and granted the government’s pretrial motion to find the video taken by the unspecified rioter to

be authentic. Id. at 6.

        Indeed, multiple video and photographic exhibits can provide circumstantial evidence of

each other’s authenticity, even if none of them is independently authenticated. If testimony were

to establish, for example, that multiple videos each showed the same events from different angles,

and were obtained from separate sources, it would be highly unlikely that multiple different

sources could have created videos or photographs depicting the same event from different angles,

with the same distortion or inaccuracy repeated in each of the videos or photographs from a

different angle.

    D. Senate Recording Studio Video of Electoral College Certification Process
        The government also intends to introduce video evidence of the Joint Session of Congress

that assembled on January 6, 2021, to declare the winner of the 2020 presidential election by

reviewing and certifying the Electoral College ballots. Specifically, the United States Senate has

an affiliated entity called the Senate Recording Studio that contemporaneously records Senate
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proceedings and distributes those recordings to the public. The Recording Studio is comprised of

Senate TV, Hearing Rooms, and a Studio function. Senate TV is comprised of eight cameras which

record activity occurring on the Senate floor. This footage is also broadcast through the Cable-

Satellite Public Affairs Network (CSPAN). The Senate Studio can also capture contemporaneous

footage of the House of Representative proceedings, used for broadcast, when there are joint

sessions of Congress.

       The Senate Recording Studio recorded the proceedings relating to the Electoral College

Certification on January 6, 2021, up to the point when the rioters breached the Capitol Building

itself and the Senate was forced into recess. After the rioters were cleared from the Capitol

building, the Senate Recording Studio continued recording the Electoral College Certification

process once the joint session resumed. The Senate Recording Studio also recorded rioters who

were present on the Senate floor during the recess. See https://www.senate.gov/floor/, last accessed

Nov. 7, 2022:
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       The Senate Recording Studio recorded at least three events relevant to this trial: Vice

President Michael Pence gaveling the session to order and reading from Senate Congressional

Resolution 1 and 3 U.S.C. § 17 in conjunction with the official proceeding of the Electoral College

Certification; the Senate being gaveled into recess, and resulting evacuation of the Senate Floor

Chamber, after rioters breached the building; and the Joint Session of Congress reconvening to

finish the Electoral College Certification hours later, after the rioters were cleared from the U.S.

Capitol. Screen captures of those events are shown below:

       Electoral College certification proceedings:




       Senate Floor when rioters breach the Capitol Building:
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       Joint Session when Congress reconvenes:




       Self-Authentication under Rule 902

       The Congressional videos from the Senate Recording Studio are self-authenticating and

should be admitted on that basis. Federal Rule of Evidence 902 governs the authentication of

evidence that is “self-authenticating.” Rule 902 provides, in part, that:

       The following items of evidence are self-authenticating; they require no extrinsic
       evidence of authenticity in order to be admitted:
        ...

       (11) Certified Domestic Records of a Regularly Conducted Activity. The original
       or a copy of a domestic record that meets the requirements of Rule 803(6)(A)–(C),
       as shown by a certification of the custodian or another qualified person that
       complies with a federal statute or a rule prescribed by the Supreme Court. Before
       the trial or hearing, the proponent must give an adverse party reasonable written
       notice of the intent to offer the record—and must make the record and certification
       available for inspection—so that the party has a fair opportunity to challenge them.
       ...

       (13) Certified Records Generated by an Electronic Process or System. A record
       generated by an electronic process or system that produces an accurate result, as
       shown by a certification of a qualified person that complies with the certification
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       requirements of Rule 902(11) or (12). The proponent must also meet the notice
       requirements of Rule 902(11).

Fed. R. Evid. 902. Pursuant to Rule 902, the government hereby gives notice of its intent to offer

the records and submits that the videos are self-authenticating under Rule 902(11) and (13). See

Certification of Diego Torres, attached as Exhibit 1.

       The video footage is also self-authenticating under Federal Rule of Evidence 902(5).

Federal Rule of Evidence 902(5) provides, in part, that:

       The following items of evidence are self-authenticating; they require no extrinsic
       evidence of authenticity in order to be admitted:
       ...

       (5) Official Publications. A book, pamphlet, or other publication purporting to be
       issued by a public authority

Fed. R. Evid 902. The video feed from which the clips are taken are available on the Senate.gov

website. See https://www.senate.gov/floor/, last accessed Nov. 7, 2022. Moreover, the certification

of Diego Torres from the Senate Recording Studio establishes the video as an official publication.

It is well established that materials found on a government public website are self-authenticating

under Federal Rule of Evidence 902(5). See Williams v. Long, 585 F. Supp. 2d 679 (D. Md. 2008).

See also Singletary v. Howard Univ., No. 1:17-cv-01198, 2018 U.S. Dist. LEXIS 164945, 2018

WL 4623569 (D.D.C., Sept. 26, 2018), MMA Consultants 1, Inc. v. Republic of Peru, 245 F. Supp.

3d 486 (S.D.N.Y. 2017) (Congressional transcripts self-authenticating under Rule 902(5)).2

                                         CONCLUSION

       For the reasons stated herein, the government respectfully requests that this Court rule in

limine that the Senate Recording Studio evidence outlined in Section 3 is authentic and admissible



2
  The government may also offer similar evidence from the House Recording Studio. See
Certification of Douglas Massengale, attached as Exhibit 2. The government submits that the same
principles would support the authentication of any such evidence.
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pursuant to Federal Rule of Evidence 902. For all other categories of evidence described herein,

the government respectfully requests that this Court rule in limine that this evidence may be

properly authenticated and admitted using the methods outlined herein, assuming sufficient

foundation is laid at trial regarding authenticity.


                                               Respectfully submitted,

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